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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MINNESOTA


ZACH McQUEEN and FRED                                Civ. No.: 19-cv-2559 (DWF/BRT)
KRAUTKRAMER, KYLE PRICE,
CHRIS BURLING and CHRIS
SMALLEY, individually and on behalf of                    CLASS ACTION
others similarly situated,

                 Plaintiffs,
                                                  THIRD AMENDED COMPLAINT
           vs.                                        AND JURY DEMAND

YAMAHA MOTOR CORPORATION,
U.S.A.,

                               Defendant.


      Plaintiffs Zach McQueen, Fred Krautkramer, Kyle Price, Chris Burling and

Chris Smalley bring this action against Defendant Yamaha Motor Corporation

U.S.A. (“Defendant” or “Yamaha”), by and through their attorneys, individually

and on behalf of all others similarly situated, and allege as follows:

                                   INTRODUCTION

      1.     This is a class action lawsuit brought by Plaintiffs on behalf of

themselves and a class of current and former owners of model years 2016-18

Yamaha Pure Sport YXZ1000R, YXZ1000SE, YXZ1000SS, and YXZ1000SS SE

Side-by-Side vehicles, equipped with radiators mounted on the front of the




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vehicles (“Class Vehicles”).1

       2.     The front-mounted radiators on the Class Vehicles are defectively

designed and/or manufactured and frequently become clogged with mud or debris

while being operated as intended, resulting in inadequate cooling, overheated

engines, and potentially catastrophic engine failure and even fire (“Radiator

Defect”). This dangerous safety defect can cause harm to the operators of the Class

Vehicles, as well as passengers.

       3.     This action arises from Yamaha’s failure, despite its longstanding

knowledge of this material manufacturing and/or design defect, to disclose to

Plaintiffs and other consumers that the Class Vehicles are predisposed to the

Radiator Defect, causing the Vehicles’ engines to overheat – resulting in both

decreased performance and premature wear of the engines, engine bearings and

other internal engine components as well as an increased cost of repair and

remediation. Such premature failures can also result in catastrophic engine failure,

engine stalling events, engine fires and other dangerous situations for occupants of

the Class Vehicles and others in close proximity.

       4.     Yamaha purports to be “the leader in providing you an inspirational

experience to explore new terrain, new vehicles, and exciting new destinations.



1
 Plaintiffs reserve the right to amend or add to the vehicle models included in the
definition of Class Vehicles after conducting discovery.

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Yamaha designs, engineers, manufactures and tests its ATVs and Side-by-Side

vehicles in the Real World, fueling your off-road passion with superior Capability,

Comfort and Confidence!”2

      5.     Not only did Yamaha actively conceal the fact that the Class Vehicles

contain the Radiator Defect (and therefore require additional expenses to repair

and/or remedy), it failed to reveal that the existence of this defect impairs the

intended use, and would diminish the intrinsic and resale value of the Class

Vehicles.

      6.     Yamaha has long been aware of the Radiator Defect. Despite its

longstanding knowledge of this defect, Yamaha has been unwilling to adequately

repair the Class Vehicles when the defect manifests, and/or to pay for the

relocation of the radiators to a more appropriate location on the Class Vehicles.

      7.     Many owners of Class Vehicles have communicated with Defendant

and its agents to request that Yamaha remedy and/or address the Radiator Defect

and/or resultant damage at no expense. Defendant has failed and/or refused to do

so. For customers whose Vehicles are within the six-month warranty period,

Yamaha has done nothing to address or correct the Radiator Defect when it

manifests in the Class Vehicles.


2
 Realize Your Adventure, YAMAHA, https://www.yamahamotorsports.com/realize-your-
adventure-home (last visited Sept. 5, 2019).


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      8.     Despite notice and knowledge of the Radiator Defect from the

numerous consumer complaints it has received, information received from Yamaha

dealerships, pre-sale durability testing, and its own internal records, Yamaha has

not recalled the Class Vehicles to repair the Radiator Defect, offered its customers

a suitable repair free of charge, or offered to reimburse its customers who have

incurred out-of-pocket expenses to address the Radiator Defect.

      9.     As a result of Yamaha’s breaches of express and implied warranties ,

owners and/or lessees of Class Vehicles, including Plaintiffs, have suffered an

ascertainable loss of money and/or property.

      10.    Had Plaintiffs and other Class members known about the Radiator

Defect at the time of purchase, they would not have purchased the Class Vehicles,

or would have paid substantially less for the Class Vehicles.

      11.    As a result of the Radiator Defect and the considerable monetary costs

associated with attempting to address such defect, Plaintiffs and Class members

have suffered injury in fact, incurred damages and have otherwise been harmed by

Yamaha’s conduct.

      12.    Accordingly, Plaintiffs bring this action to redress Yamaha’s

misconduct and to seek recovery for Defendant’s breach of express warranty,

breach of implied warranty, violations of the Song-Beverly Consumer Warranty

Act and, alternatively, unjust enrichment.



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                              JURISDICTION AND VENUE

       13.    This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §1332 of the Class Action Fairness Act of 2005 because: (i) there are

100 or more class members, (ii) there is an aggregate amount in controversy

exceeding $5,000,000, exclusive of interest and costs, and (iii) there is minimal

diversity because at least one plaintiff and one defendant are citizens of different

states. This Court has supplemental jurisdiction over the state law claims pursuant

to 28 U.S.C. § 1367.

       14.    Venue is proper in this judicial district pursuant to 28 U.S.C. §1391

because Yamaha transacts business in this district, is subject to personal

jurisdiction in this district, and therefore is deemed to be a citizen of this district.

Additionally, Yamaha has advertised in this district and has received substantial

revenue and profits from its sales of Class Vehicles in this district; therefore, a

substantial part of the events and/or omissions giving rise to the claims occurred, in

part, within this district.

       15.    This Court has personal jurisdiction over Yamaha because it has

conducted substantial business in this judicial district, and intentionally and

purposefully placed Class Vehicles into the stream of commerce within the district

of Minnesota and throughout the United States.




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                                  THE PARTIES

Plaintiff Zach McQueen

      16.     Plaintiff Zach McQueen is a citizen of the State of Indiana and resides

in Cambridge City, Indiana.

      17.     On or about October 18, 2019, Plaintiff McQueen purchased a used

2017 YXZ1000R Pure Sport (VIN# 5Y4ANO8Y2HA101263) from Lemon &

Barrett’s PowerSports, an authorized Yamaha dealer and repair center located in

Parkersburg, West Virginia, for approximately $13,500. Prior to purchasing his

Yamaha vehicle, Plaintiff McQueen reviewed various online advertising from

Yamaha. None of that advertising disclosed the Radiator Defect.

      18.     Since purchasing his YXZ1000R Pure Sport, Plaintiff McQueen has

added approximately $5,000 of accessories to his vehicle, including a cargo box,

harnesses, bumpers and a trunk.

      19.     Plaintiff McQueen’s Yamaha came with the radiator mounted on its

front side.

      20.     Upon riding his Class Vehicle, Plaintiff McQueen’s radiator

frequently becomes clogged with mud or sand, depending on where he rides it.

      21.     The mud- or sand-clogged radiator on Plaintiff McQueen’s Class

Vehicle interferes with his use and enjoyment of the vehicle because it regularly

overheats. Plaintiff McQueen has attempted to flush the radiator with water each



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time that it clogs, but it continues to overheat and becomes clogged repeatedly.

Efforts to clean the sand out of the radiator cause it to harden into a cement-like

substance.

      22.    Plaintiff McQueen purchased his vehicle (which he still owns) for

recreational use.

      23.    Plaintiff McQueen purchased an extended warranty that covers his

vehicle until 2022.

      24.    Plaintiff McQueen has suffered an ascertainable loss as a result of

Defendant’s breaches of express and implied warranties and/or misrepresentations

associated with the Radiator Defect, including, but not limited to, out-of-pocket

loss associated with the Radiator Defect and future attempted repairs and

diminished value of his vehicle.

      25.    Neither Defendant, nor its agents, dealers or other representatives

informed Plaintiff McQueen of the existence of the Radiator Defect prior to his

purchase of his Class Vehicle.

Plaintiff Fred Krautkramer

      26.    Plaintiff Fred Krautkramer is a citizen of the State of Minnesota and

resides in Blaine, Minnesota.

      27.    On or about March 23, 2019, Plaintiff Fred Krautkramer purchased a

new 2016 YXZ1000R Yamaha Side-by-Side Pure Sport (VIN#



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5Y4AN07Y2GA101134) from Ecofun Motorsports, an authorized Yamaha dealer

and repair center located in Forest Lake, Minnesota for approximately $17,000.

Prior to purchasing the Yamaha vehicle, Plaintiff Krautkramer reviewed various

online advertising from Yamaha. None of that advertising disclosed the Radiator

Defect.

       28.    Plaintiff Krautkramer’s Yamaha came with the radiator mounted on

its front side.

       29.    Upon riding his Class Vehicle, Plaintiff Krautkramer’s radiator began

to get clogged with mud.

       30.    The mud-clogged radiator on Plaintiff Krautkramer’s Class Vehicle

interfered with his use and enjoyment of the vehicle because it regularly

overheated. Plaintiff Krautkramer has attempted to flush the radiator with water

but it continues to overheat.

       31.    Plaintiff Krautkramer purchased his vehicle (which he still owns) for

recreational use.

       32.    On or about late June or early July 2019, Plaintiff Krautkramer

contacted Ecofun Motorsports about the radiator issues that he was experiencing.

However, Ecofun Motorsports stated that they were not aware of the radiator issue.

       33.    After experiencing frequent overheating, Plaintiff Krautkramer

purchased an aftermarket radiator relocation kit from his Yamaha dealer to resolve



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the issue which cost him approximately $2,000 with installation fees.

      34.    Plaintiff Krautkramer also contacted Defendant around the same time

to inquire about rebates and compensation for the new radiator and labor that was

required for his vehicle. Plaintiff Krautkramer corresponded with Yamaha

Customer Service and requested to have a manager contact him. On July 9, 2019,

Plaintiff Krautkramer received a voicemail from a customer service supervisor.

Plaintiff Krautkramer made repeat attempts to call her back, leaving several

messages, and also sent an email and mailed a letter but never received any further

communication from Defendant.

      35.    Plaintiff Krautkramer’s Class Vehicle was still within the warranty

period when he contacted Yamaha and also when he brought it to the local dealer

to have the radiator relocated.

      36.    Plaintiff Krautkramer has suffered an ascertainable loss as a result of

Defendant’s breaches of express and implied warranties and/or misrepresentations

associated with the Radiator Defect, including, but not limited to, out-of-pocket

loss associated with the Radiator Defect and future attempted repairs and

diminished value of his vehicle.

      37.    Neither Defendant, nor its agents, dealers or other representatives

informed Plaintiff Krautkramer of the existence of the Radiator Defect prior to




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purchase.

Plaintiff Kyle Price

        38.   Plaintiff Kyle Price is a citizen of the State of Ohio and resides in

Mount Victory, Ohio.

        39.   On or about November 14, 2017, Plaintiff Price purchased a Yamaha

XYZ1000 ETS (VIN# 5Y4AN12Y2HA101262) from Dan’s Cycle Sales, Inc., an

authorized Yamaha dealer and repair center located in Tipton, Indiana, for

approximately $18,000. Prior to purchasing his Yamaha vehicle, Plaintiff Price

reviewed various online advertising from Yamaha. None of that advertising

disclosed the Radiator Defect.

        40.   Plaintiff Price’s Yamaha came with the radiator mounted on its front

side.

        41.   Upon riding his Class Vehicle, Plaintiff Price’s radiator frequently

becomes clogged with mud, depending on where he rides it.

        42.   The mud-clogged radiator on Plaintiff Price’s Class Vehicle interferes

with his use and enjoyment of the vehicle because it regularly overheats. Plaintiff

Price has attempted to flush the radiator with water each time that it clogs, but it

continues to overheat and becomes clogged repeatedly.

        43.   Plaintiff Price purchased his vehicle (which he still owns) for




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recreational use.

      44.    Plaintiff Price has suffered an ascertainable loss as a result of

Defendant’s breaches of express and implied warranties and/or misrepresentations

associated with the Radiator Defect, including, but not limited to, out-of-pocket

loss associated with the Radiator Defect and future attempted repairs and

diminished value of his vehicle.

      45.    Neither Defendant, nor its agents, dealers or other representatives

informed Plaintiff Price of the existence of the Radiator Defect prior to his

purchase of his Class Vehicle.

Plaintiff Chris Burling

      46.    Plaintiff Chris Burling is a citizen of the State of California and

resides in San Bernardino, California.

      47.    In or about 2017, Plaintiff Burling purchased a 2017 Yamaha

YXZ1000SS (VIN# 5Y4AN08Y5HA102195) from John Burr Cycles a formerly

authorized Yamaha dealer and repair center located in Fontana California for

approximately $22,000. In approximately 2018, John Burr Cycles announced that

it was closing its operation.

      48.    Prior to purchasing his Yamaha vehicle, Plaintiff Burling reviewed

various online advertising from Yamaha. None of that advertising disclosed the




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Radiator Defect.

      49.     Plaintiff Burling’s Yamaha came with the radiator mounted on its

front side.

      50.     Upon riding his Class Vehicle, Plaintiff Burling’s radiator regularly

became overheated, sometimes clogging with mud.

      51.     The overheated or mud-clogged radiator on Plaintiff Burling’s Class

Vehicle interferes with his use and enjoyment of the vehicle. Plaintiff Burling has

attempted to flush the radiator with water each time that it clogs, but it continues to

overheat and becomes clogged repeatedly.

      52.     Plaintiff Burling purchased his vehicle (which he still owns) for

recreational use.

      53.     Plaintiff Burling contacted John Burr Cycles to notify them of the

overheating and clogging issues, but was advised that the issues would not be

covered under his warranty.

      54.     Plaintiff Burling has suffered an ascertainable loss as a result of

Defendant’s breaches of express and implied warranties and/or misrepresentations

associated with the Radiator Defect, including, but not limited to, out-of-pocket

loss associated with the Radiator Defect and future attempted repairs and

diminished value of his vehicle.

      55.     Neither Defendant, nor its agents, dealers or other representatives



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informed Plaintiff Burling of the existence of the Radiator Defect prior to his

purchase of his Class Vehicle.

Plaintiff Chris Smalley

      56.     Plaintiff Chris Smalley is a citizen of the State of Washington and

resides in Bremerton, Washington.

      57.     On or about January 19, 2016, Plaintiff Smalley purchased a 2016

Yamaha YXZ1000SE (VIN# 5Y4AN01YXGA101388) from Brothers

Powersports, an authorized Yamaha dealer and repair center located in Bremerton,

Washington for approximately $22,912.

      58.     Prior to purchasing his Yamaha vehicle, Plaintiff Smalley reviewed

various online advertising from Yamaha. None of that advertising disclosed the

Radiator Defect.

      59.     Plaintiff Smalley’s Yamaha came with the radiator mounted on its

front side.

      60.     Upon riding his Class Vehicle, Plaintiff Smalley’s radiator regularly

became overheated, sometimes filling with sand.

      61.     The overheated radiator on Plaintiff Smalley’s Class Vehicle

interfered with his use and enjoyment of the vehicle, so he contacted Brothers

Powersports and requested that it remedy the overheating occurring in his vehicle,

but was advised that the issues would not be covered because his warranty was no



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longer in effect.

      62.    On or about March 28, 2017, Plaintiff Smalley purchased a radiator

replacement kit from Hess Motor Sports for approximately $900, and installed it

himself.

      63.    Since relocating his radiator to the rear of his Class Vehicle, Plaintiff

Smalley has not experienced overheating.

      64.    Plaintiff Smalley purchased his vehicle (which he still owns) for

recreational use.

      65.    Plaintiff Smalley has suffered an ascertainable loss as a result of

Defendant’s breaches of express and implied warranties and/or misrepresentations

associated with the Radiator Defect, including, but not limited to, out-of-pocket

loss associated with the Radiator Defect and future attempted repairs and

diminished value of his vehicle.

      66.    Neither Defendant, nor its agents, dealers or other representatives

informed Plaintiff Smalley of the existence of the Radiator Defect prior to his

purchase of his Class Vehicle.

Defendant

      67.    Defendant, Yamaha Motor Corporation U.S.A., is “a leading

distributor and manufacturer in the motorsports market, with the most diversified

line of products in America. Yamaha products are recognized the world over for



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superior quality in design, technology, craftsmanship and customer services.”3

          68.   Defendant does business in the United States, including design,

manufacturing, distribution, and/or servicing of its products, including the Class

Vehicles.

          69.   Defendant is incorporated under the laws of California with its

principal place of business located at 1270 Chastain Road in Kennesaw, Georgia.

          70.   Founded in 1955, Yamaha Motor Corporation U.S.A. is a wholly

owned subsidiary of Japan-based Yamaha Motor Corporation, Ltd.4

          71.   Upon information and belief, the design, manufacture, distribution,

service, repair, modification, installation and decisions regarding the radiator

locations within the Class Vehicles were performed exclusively by Defendant.

          72.   Upon information and belief, Defendant develops the owners’

manuals, warranty booklets and information included in maintenance

recommendations and/or schedules for the Class Vehicles.

          73.   Defendant engages in continuous and substantial business in

Minnesota.

                   TOLLING OF STATUTES OF LIMITATION




3
 Yamaha Motorsports Dealer Prospect Site, YAMAHA,
https://www.yamahamotorsports.com/dealerprospects (last visited Sept. 5, 2019).
4
    Id.

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      74.    Any applicable statute(s) of limitations have been tolled by Yamaha’s

knowing and active concealment and denial of the facts alleged herein. Plaintiffs

and members of the Class could not have reasonably discovered the true, latent

defective nature of the Radiator Defect until shortly before this class action

litigation was commenced.

      75.    Yamaha was and remains under a continuing duty to disclose to

Plaintiffs and members of the Class the true character, quality and nature of the

Class Vehicles and that it will require costly repairs and diminishes the resale value

of the Class Vehicles. As a result of the active concealment by Yamaha, any and

all applicable statutes of limitations otherwise applicable to the allegations herein

have been tolled.

                             FACTUAL ALLEGATIONS

A.    The Radiator Defect within the Class Vehicles

      76.    Yamaha first introduced the YXZ 1000R Pure Sport Side-by-Side in

the United States in 2016.

      77.    The YXZ 1000R, YXZ1000SE, YXZ1000SS and YXZ1000 SS SE

Pure Sport Side-by-Side for model years 2016-2018 years are all sold with the

radiator located in the front of the vehicle.

      78.    As background, a radiator is a type of heat exchanger. Generally, a

cooling system works by sending a liquid coolant through passages in the engine.



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As the coolant flows through these passages, it absorbs heat from the engine. The

heated fluid then travels to the radiator. As it flows through the tubes of the

radiator, the hot liquid is cooled by the air traveling across the fins of the radiator.

Once the fluid is cooled, it returns to the engine to absorb more heat. Adequate

airflow across the radiator is a critical component in most cooling systems.

      79.    The radiators in the Class Vehicles are intended to cool the Class

Vehicles’ engine and should ensure the engine does not overheat while the Class

Vehicles are being operated. The below pictures illustrate the front mounted

location of the radiators in the Class Vehicles:




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      80.    When the radiators on the Class Vehicles become clogged with mud,

the radiators are unable to operate as intended, causing the Class Vehicles’ engines

to overheat. Once the engines overheat, the engines experience premature wear of

the engines, engine bearings, and other internal engine components. Over time,

premature wear will lead to catastrophic engine failure and even fire.

      81.    Consumers have experienced frustration and financial impacts as a

result of the Radiator Defect, when they have had to cut short their planned rides

with Class Vehicles or surrender scheduled track time.

      82.    Even when the Class Vehicles are used in areas without mud, the

radiators are often unable to operate as intended, causing the Class Vehicles’



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engines to overheat – sometimes destroying head gaskets or causing antifreeze to

boil over, spraying drivers and passengers. As with the Class Vehicles that become

clogged with mud, once the engines overheat, the engines experience premature

wear of the engines, engine bearings, and other internal engine components. Over

time, premature wear will lead to catastrophic engine failure and even fire.

B.    Yamaha’s Knowledge of the Radiator Defect

      83.    Yamaha publicly acknowledged the need to have the radiators

relocated onto the rear of its Pure Sport Side-by-Side vehicles, thus demonstrating

its knowledge of the Radiator Defect.

      84.    Yamaha redesigned the YXZ 1000R Pure Sport Side-by-Side for the

2019 model year, stating: “[F]or 2019, the YXZ1000R SS uses an all-new cooling

system that not only ensures proper cooling during the toughest conditions, but is

designed to ensure the cabin remains comfortable and the radiator stays clear of

mud and debris.”5

      85.    Yamaha also touts its 2019 redesign as including a new cooling

system that is “built to blow away the competition in every terrain, from desert

dunes to muddy trails. To ensure peak performance every ride, the 2019 YXZ1000R




5
 2019 YXZ1000R SS Specifications Sheet, YAMAHA,
https://www.yamahamotorsports.com/content/common/dpg/files/2019_yamaha_YXZ100
0R_SS.pdf at p. 2 (last visited Sept. 5, 2019) (emphasis added).


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SS features a new rear-mounted radiator: this system not only reduces heat in the

cabin, it remains clear of mud or debris build-up, and is designed to funnel cool air

through the radiator at low or high speeds equally well.”6

       86.   In fact, Yamaha has even issued a press release advertising the

advantage of the relocation of the 2019 YXZ’s radiator: “A new oversized radiator

has been relocated behind the seats, eradicating excess cabin heat while

simultaneously eliminating the risk of clogging while driving through mud.”7

Below is a picture illustrating the location of the rear-mounted radiator in the 2019

YXZ:




6
  Id.
7
  Yamaha 2019 YXZ1000R – Most Versatile Pure Sport Side-by-Side, GLOBALNEWSWIRE
(June 6, 2018), https://www.globenewswire.com/news-
release/2018/06/06/1517774/0/en/Yamaha-2019-YXZ1000R-Most-Versatile-Pure-Sport-
Side-by-Side.html (emphasis added).

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      87.    Yamaha Owners’ Manuals explicitly warn owners of the Class

Vehicles not to allow their radiators to become clogged with mud: “The engine

will tend to overheat if the radiator is caked with mud. . . . ”8 However, this

warning is meaningless as Yamaha designed and intended the Class Vehicles to be

used for various activities such as mud bogging and for use on a wide variety of

rough terrains, including muddy trails.



8
 See Model Years 2016-18 YXZ 1000R Owner’s Manuals, YAMAHA, available at
https://dd5394a0b8ca8e97ba29-
abf76f3d91a2125517d6c7c409f095c7.ssl.cf1.rackcdn.com/content/common/manuals/201
8/2018_YXZ1000R_EPS_SE_LIT-11626-31-09_5ad6780e2a0ab744f8af1cee.pdf (April
2016) (last visited July 16, 2019), https://dd5394a0b8ca8e97ba29-
abf76f3d91a2125517d6c7c409f095c7.ssl.cf1.rackcdn.com/content/common/manuals/201
9/LIT-11626-32-32_5be3211c2a0ab6416052abdf.pdf (June 2018), at p. 8-70 (as to
Model Year 2019) (last visited July 16, 2019).


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      88.    In many instances, consumers have incurred and will continue to incur

expenses for repair of the radiators despite such Radiator Defect having been

contained in the Class Vehicles when manufactured by Yamaha.

      89.    Upon information and belief, Yamaha, through (1) its own records of

customers’ complaints, (2) dealership repair records, (3) warranty and post-

warranty claims, (4) internal pre-sale durability testing, and (5) other various

sources, was well aware of the Radiator Defect but failed to notify customers of the

nature and extent of the problems with Class Vehicles or to provide any adequate

remedy.

      90.    Yamaha failed to adequately research, design, test and/or manufacture

the Class Vehicles with the radiator in an appropriate location before warranting,

advertising, promoting, marketing, and selling the Class Vehicles as suitable and

safe for use in an intended and/or reasonably foreseeable manner.

      91.    Yamaha is experienced in the design and manufacture of motorsports

products. As an experienced designer and manufacturer, Yamaha conducts tests,

including pre-sale durability testing, on all aspects of its products’ designs,

including radiator location, to verify that they are free from defect and align with

Yamaha’s specifications.

      92.    Through its quality control initiatives, Yamaha knew or should have

known that the engines in the Class Vehicles were defective.



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      93.    Yamaha has not contacted Class Members by direct mail, email,

telephone or other means to inform them how they can receive free repairs related

to the Radiator Defect within the United States. Additionally, upon information

and belief, Yamaha has also not provided associated information regarding the

Radiator Defect on its website or through the news media.

      94.    Yamaha also expressly warranted the Class Vehicles to be “free from

defects in material and workmanship” for a period of six (6) months from the date

of purchase (except for the battery, which Yamaha warranted for a period of 30

days).9 Upon information and belief, this warranty is applicable to the Radiator

Defect; however, Yamaha has failed to correct the issue.

      95.    Buyers and other owners of the Class Vehicles were without access to

the information concealed by Yamaha as described herein, and therefore

reasonably relied on Yamaha’s representations and warranties regarding the

quality, durability, and other material characteristics of the Class Vehicles. Had

these buyers known of the Radiator Defect and the potential associated harm, they

would have taken steps to avoid that harm and/or would have paid less for the



9
  Owner’s Manual – YXZ10YEXH, YXZ10YESH, YAMAHA, available at
https://dd5394a0b8ca8e97ba29-
abf76f3d91a2125517d6c7c409f095c7.ssl.cf1.rackcdn.com/content/common/manuals/201
7/LIT-11626-30-21%20REV%20-5-31-16_5951610c2a0ab7877c37bb12.pdf at p. 11-6
(last visited July 24, 2019).



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Class Vehicles than the amounts they actually paid, or would not have purchased

the Class Vehicles.

C.    Complaints by Other Class Members

      96.   Plaintiff’s experience is by no means an isolated or outlying

occurrence. Indeed, the internet is replete with examples of forums and other

websites where consumers have complained of the exact same Radiator Defect

within the Class Vehicles.

      97.   The following is just a small sampling of the many complaints made

by Class Vehicle owners. These publicly available complaints, posted as early as

2016, when the first Class Vehicles were placed into the market, evidence

Yamaha’s prior knowledge of the Radiator Defect, the negative experiences

encountered by Class Members, and the financial burden this places on them:

      Consumer No. 1:

      Radiator Location Sucks for Mud! I've taken all the radiator location
      comments with a grain of salt assuming it was guys trying to really mud it
      and I'm sure some that still pertains. Well I'm on the bandwagon of what a
      shitty design. I bought my YXZ to do sand so I'll likely never run into
      plugging the radiator but I was astonished how little mud it takes to clog it
      up. There was one YXZ in our group yesterday and there were a few mud
      holes we had to go through and they were not huge nor deep. But, they did
      have to be hit with some speed causing alot of splash. The YXZ went from
      no overheating problems at slow speeds to nearly instant high temps. Later
      we crossed a deep creek and he blew through it and was able to flush out the
      radiator and all the overhearing issues went away as fast as they started. I




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      realize this is not a mud machine but I was just really surprised and honestly
      disappointed how quickly a little mud on a mild trail ride caused problems.10

      Consumer No. 2:

      Searched for post about this so looking for your feed back. How is your yxz
      now since it's been overheated a few times? Asking because mine clogged
      with mud and overheated twice this past weekend with red light coming on.
      Just wondering if these engine are fragile or if they can take a little
      overheating and be fine. I of course did not run it hard after light came on
      but had drive easy and up hill for few min till could stop. Out in middle of
      no where trails will 80 other buggies. Coolant did bubble out but managed
      collect it and put back in along with fresh bottled water until next day. Have
      no reason to think any damage occurred and runs fine just peronoid [sic]
      bout this new machine.11

      Consumer No. 3:
      [H]as anybody had overheating issues with their yxz? we rode on sunday in
      some pretty muddy conditions, and i ended up plugging up my radiator with
      mud and overheating it. the temp light came on and i shut it down, but it
      popped the rad cap and spewed coolant everywhere.12

      Consumer No. 4:




10
  Post by 6gearz, Administrator on Sept. 25, 2016, YXZTALK.COM,
https://www.yxztalk.com/threads/radiator-location-sucks-for-mud.23265/ (last visited
Sept. 5, 2019) (emphasis added).
11
  Post by WVgearReducYXZ on May 5, 2016, YXZTALK.COM,
https://www.yxztalk.com/threads/overheating.4578/#post-180546 (last visited Sept. 5,
2019) (emphasis added).
12
  Post by arob on March 2, 2016, YXZTALK.COM,
https://www.yxztalk.com/threads/overheat-and-radiator-hydrolock.8441/ (last visited July
16, 2019) (emphasis added).


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      Yep, I only had the clogged up challenge after running thru a 30' mud hole at
      speed each lap for around 5 laps... But my radiator was completely covered
      too. Just nothing down there to block the splash at all.13

      Consumer No. 5:
      Found out some interesting things. Apparently after a day of ridding in very
      muddy conditions the radiator got plugged up. Even after washing , which I
      cleaned out radiator , it was still packed with mud. Riding with the clogged
      radiator caused the coolant to heat up and drain out the overflow tube . The
      radiator has been thoroughly cleaned and coolant topped off and have had
      zero problems since.14

      Consumer No. 6:
      Rode Brimstone this past weekend and had issues with overheating due to
      mud[ ] in radiator. Anyone else having this problem?
      Yup, mine overheated at royal blue last fall. . . check out my radiator
      relocate pics in the gallery. . . . [A] slightly more modified YXZ won the
      race, he also had radiator relocated.15

      Consumer No. 7:
      I'm kinda struggling with some of the standard over heating and excessive in
      cab heat issues and wanted to find a solution.

      The only real answer for me was to relocate the radiator to the
      rear...addresses the mud-packing/over-heating issues and center tunnel, heat




13
  Post by True 520 on March 2, 2016, YXZTALK.COM,
https://www.yxztalk.com/threads/overheat-and-radiator-hydrolock.8441/ (last visited July
16, 2019).
14
  Post by Jake on Jan. 25, 2016, YXZTALK.COM,
https://www.yxztalk.com/threads/overheating.4578/ (last visited July 17, 2019) (emphasis
added).
15
  Post by ShiftNitSE on March 2, 2016, YXZOWNERS.COM,
https://www.yxzowners.com/forum/yamaha-yxz-1000r-general-discussion/3193-radiator-
overheating-due-mudd.html (last visited Sept. 5, 2019).


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      funneling effect.16

      98.    Further, at least one media source publicly discussed the Radiator

Defect as early as 2016, placing Defendant on notice of its existence: “One of the

biggest problems we found with the YXZ is the location of the stock radiator. It is

not conducive to racing or riding in any type of mud. It will clog and cause the

engine to overheat quickly. . . .”17

      99.    Additionally, at least one company has successfully marketed a

radiation relocation kit designed to address the Radiator Defect: “A very common

problem for any UTV enthusiast is over heating due to the stock mounting location

of the radiator. The stock radiator is mounted up front which leaves it very

vulnerable to damage and mud clogging. We have relocated the radiator to the

rear, increased coolant capacity, and incorporated dual fans! This is the ultimate

setup for the driver that demands performance from their UTV!”18


16
  Post by Rocktonka on April 15, 2017, YXZTALK.COM,
https://www.yxztalk.com/threads/custom-radiator-relocation.35786/ (last visited Sept. 5,
2019).
17
  See George White, How to make your YXZ Race Ready, UTVSCENE (updated July 16,
2016), https://utvscene.com/make-yamaha-yxz-race-ready/.
18
  See Radiator Relocation Kit Yamaha YXZ1000R/SS, HESS MOTORSPORTS,
https://www.hess-motorsports.com/collections/yamaha-yxz/products/radiator-relocation-
kit-yamaha-yxz1000r (last visited Sept. 5, 2019) (emphasis added); see also Radiator
Relocation Kit – Yamaha Grizzly, HIGHLIFTER, https://www.highlifter.com/high-lifter-
rad-kits-cooling/radiator-relocation-kit-yamaha-grizzly-rk-fr-y700.asp (Made for Yamaha
Grizzly ATVs; “Nothing kills a ride worse than mud in the radiator. You’re [sic] ATV is
not quite broke, but it isn’t running either. You and your buddies have to keep stopping

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                        CLASS ACTION ALLEGATIONS

      100. Plaintiffs bring this action on behalf of themselves, and on behalf of

the following nationwide class pursuant to FED. R. CIV. P. 23(a), 23(b)(2), and/or

23(b)(3). Specifically, the Nationwide Class consists of the following:

      Nationwide Class:

      All persons in the United States who are current or former owners of a Class
      Vehicle (the “Nationwide Class”).

      101. In the alternative to the Nationwide Class, and pursuant to FED. R.

CIV. P. 23(c)(5), Plaintiffs seek to represent the following state classes:

      Indiana Class:

      All persons in Indiana who are current or former owners of a Class Vehicle
      (the “Indiana Class”).

      Minnesota Class:

      All persons in Minnesota who are current or former owners of a Class
      Vehicle (the “Minnesota Class”).

      Ohio Class:

      All persons in Ohio who are current or former owners of a Class Vehicle
      (the “Ohio Class”).

      California Class:



over and over for you to cool off. Keep your radiator clean and your engine cool with
High Lifter’s Signature Radiator Relocation Kit designed especially for riders who love
those deep mud holes.”) (last visited Sept. 5, 2019).



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      All persons in California who are current or former owners of a Class
      Vehicle (the “California Class”).

      Washington Class:

      All persons in Washington who are current or former owners of a Class
      Vehicle (the “Washington Class”).


      102. Together, the Nationwide Class and the Indiana, Minnesota, Ohio,

California and Washington Classes shall be collectively referred to herein as the

“Class.” Excluded from the Class are Defendant, its affiliates, employees, officers

and directors, persons or entities that purchased the Class Vehicles for resale, and

the Judge(s) assigned to this case. Plaintiffs reserve the right to modify, change or

expand the Class definitions.

      103. Numerosity: Upon information and belief, the Class is so numerous

that joinder of all members is impracticable. While the exact number and identities

of individual members of the Class are unknown at this time, such information

being in the sole possession of Yamaha and obtainable by Plaintiffs only through

the discovery process, Plaintiffs believe that thousands of Class Vehicles have

been sold in each of the states that are the subject of the Class.

      104. Predominance and Commonality: Common questions of law and fact

exist as to all members of the Class. These questions predominate over the

questions affecting individual Class members. These common legal and factual

questions include, but are not limited to:

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  a. whether the location of the radiators on the Class Vehicles makes

     them predisposed to becoming clogged with mud resulting in

     overheated engines;

  b. whether the location of the radiators on the Class Vehicles makes

     them predisposed to overheating whether or not they are ridden in the

     mud;

  c. whether the Class Vehicles contain a manufacturing or other defect as

     a result of the radiator placement;

  d. whether Yamaha’s conduct constitute breaches of its express and

     implied warranties;

  e. whether, as a result of Defendant’s breaches of express and implied

     warranties and/or misrepresentations of material facts related to the

     Radiator Defect, Plaintiffs and members of the Class have suffered

     ascertainable loss of monies and/or property and/or value;

  f. whether, as a result of Defendant’s breaches of express and implied

     warranties and/or misrepresentations of material facts related to the

     Radiator Defect, Plaintiffs and members of the Class have suffered an

     increased cost of maintenance and/or repair related to the Class

     Vehicles; and

  g. whether Plaintiffs and Class members are entitled to monetary



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             damages and/or other remedies and, if so, the nature of any such

             relief.

      105. Typicality: All of the Plaintiffs’ claims are typical of the claims of the

Class since Plaintiffs purchased Class Vehicles with the Radiator Defect, as did

each member of the Class. Furthermore, Plaintiffs and all members of the Class

sustained monetary and economic injuries including, but not limited to,

ascertainable loss arising out of Yamaha’s wrongful conduct. Plaintiffs are

advancing the same claims and legal theories on behalf of themselves and all

absent Class members.

      106. Adequacy: Plaintiffs are adequate representatives because their

interests do not conflict with the interests of the Class that they seek to represent,

they have retained counsel competent and highly experienced in complex class

action litigation, and they intend to prosecute this action vigorously. The interests

of the Class will be fairly and adequately protected by Plaintiffs and their counsel.

      107. Superiority: A class action is superior to all other available means of

fair and efficient adjudication of the claims of Plaintiffs and members of the Class.

The injury suffered by each individual Class member is relatively small in

comparison to the burden and expense of individual prosecution of the complex

and extensive litigation necessitated by Yamaha’s conduct. It would be virtually

impossible for members of the Class to individually and effectively redress the



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wrongs done to them. Even if the members of the Class could afford such

individual litigation, the court system could not. Individualized litigation presents a

potential for inconsistent or contradictory judgments. Individualized litigation also

increases the delay and expense to all parties, and to the court system, presented by

the complex legal and factual issues of the case. By contrast, the class action

device presents far fewer management difficulties, and provides the benefits of

single adjudication, economy of scale, and comprehensive supervision by a single

court. Upon information and belief, members of the Class can be readily identified

and notified based on, inter alia, Yamaha’s vehicle identification numbers (VINs),

warranty claims, registration records, and the database of complaints.

      108. Injunctive Relief: Pursuant to Fed. R. Civ. P. 23(b)(2), Yamaha has

acted or refused to act on grounds generally applicable to the Class, thereby

making appropriate final injunctive relief, corresponding declaratory relief, or final

equitable relief with respect to the class as a whole.

                                VIOLATIONS ALLEGED

                            COUNT I
   VIOLATION OF SONG-BEVERLY CONSUMER WARRANTY ACT
           FOR BREACH OF EXPRESS WARRANTIES
             (CAL. CIV. CODE §§ 1791.2 & 1793.2(D))
                (On Behalf of the California Class)

      109. Plaintiffs incorporate by reference all allegations of the preceding

paragraphs as though fully set forth herein.



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      110. Plaintiff Burling brings this claim on behalf of himself and on behalf

of the members of the California Class against Defendant.

      111. Plaintiff Burling and the other California Class members who

purchased or leased the Class Vehicles in California are “buyers” within the

meaning of Cal. Civ. Code § 1791(b).

      112. The Class Vehicles are “consumer goods” within the meaning of Cal.

Civ. Code § 1791(a).

      113. Yamaha is a “manufacturer” of the Class Vehicles within the meaning

of Cal. Civ. Code § 1791(j).

      114. Yamaha made express warranties to Plaintiff Burling and the other

California Class members within the meaning of Cal. Civ. Code §§ 1791.2 and

1793.2, as described above.

      115. Defendant breached these warranties by selling and leasing Class

Vehicles with the defect, requiring repair or replacement within the applicable

warranty periods, and refusing to honor the warranties by providing free repairs or

replacements during the applicable warranty periods.

      116. Defendant did not promptly replace or buy back the vehicles of

Plaintiff Burling and proposed California Class members.

      117. As a direct and proximate result of Yamaha’s breach of its express

warranties, Plaintiff Burling and the other California Class members received



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goods whose condition substantially impairs their value to Plaintiff and the other

Class members. Plaintiff Burling and the other Class members have been damaged

as a result of, inter alia, the diminished value of Yamaha’s products, the Class

Vehicles’ malfunctioning, and actual and potential increased maintenance and

repair or replacement costs.

      118. Pursuant to Cal. Civ. Code §§ 1793.2 and 1794, Plaintiff Burling and

the other Class members are entitled to damages and other legal and equitable

relief including, at their election, the purchase price of their Class Vehicles, or the

overpayment or diminution in value of their Class Vehicles.

      119. Pursuant to Cal. Civ. Code § 1794, Plaintiff Burling and the other

California Class members are entitled to costs and attorney fees.

                               COUNT II
          THE SONG-BEVERLY ACT – BREACH OF IMPLIED
          WARRANTY VIOLATIONS OF CALIFORNIA CIVIL
                   CODE §§ 1792, 1791.1, et seq.
                 (On Behalf of the California Class)

      120. Plaintiffs incorporate by reference each preceding and succeeding

paragraph as though fully set forth at length herein.

      121. Plaintiff Burling brings this claim on behalf of himself and on behalf

of the members of the California Class against Defendant.

      122. Class Vehicles are “consumer goods” within the meaning of Cal. Civ.

Code § 1791(a).



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      123. Yamaha is a “manufacturer” within the meaning of Cal. Civ. Code §

1791(j).

      124. Defendant impliedly warranted to Plaintiff and the California Class

that Class Vehicles were “merchantable” within the meaning of Cal. Civ. Code §§

1791.1(a) & 1792.

      125. Cal. Civ. Code § 1791.1(a) states: “Implied warranty of

merchantability” or “implied warranty that goods are merchantable” means that the

consumer goods meet each of the following:

      (1) Pass without objection in the trade under the contract description.

      (2) Are fit for the ordinary purposes for which such goods are used.

      (3) Are adequately contained, packaged, and labeled.

      (4) Conform to the promises or affirmations of fact made on the container or

      label.

      126. Class Vehicles would not pass without objection in the automotive

trade because the Radiator Defect results in the Class Vehicles failing to operate as

intended and expected.

      127. Because the Radiator Defect poses an unreasonable risk to driver

safety and materially reduces the reliability and dependability of the vehicles, the

Class Vehicles are not fit for ordinary purposes for which such goods are used.

      128. Class Vehicles are not adequately labeled because the labeling fails to



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disclose the Radiator Defect and does not advise proposed California Class

members of the defect.

        129. The Radiator Defect deprived Plaintiff Burling and the proposed

California Class of the benefit of their bargain and have caused Class Vehicles to

be worth less than what Plaintiff and other proposed California Class members

paid.

        130. As a direct and proximate result of Yamaha’s breach of its duties,

proposed California Class members received goods whose condition substantially

impairs their value. Plaintiff Burling and the proposed California Class have been

damaged by the diminished value of the vehicles, the vehicles’ malfunctioning, and

actual and potential increased maintenance and repair costs.

        131. Under Cal. Civ. Code §§ 1791.1(d) and 1794, Plaintiff Burling and

proposed California Class members are entitled to damages and other legal and

equitable relief including, at their election, the purchase price of their Class

Vehicles, or the overpayment or diminution in value of their Class Vehicles, and

are also entitled to their attorney fees and costs.

                                COUNT III
                   BREACH OF EXPRESS WARRANTY
    (On Behalf of the Nationwide Class and Indiana, Minnesota, Ohio and
                             California Classes)

        132. Plaintiffs and the Class incorporate by reference each preceding and




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succeeding paragraph as though fully set forth at length herein.

      133. Defendant expressly warranted that the Class Vehicles were of high

quality and, at a minimum, would actually work properly. Defendant also

expressly warranted that its vehicles would be “free from defects in material and

workmanship.”19

      134. Defendant breached these warranties by selling to Plaintiffs and Class

members the Class Vehicles with known radiator location problems, which are

therefore not of high quality, and which fail prematurely and/or fail to function

properly.

      135. As a result of the Defendant’s actions, Plaintiffs and Class members

have suffered economic damages including but not limited to costly repairs, loss of

vehicle use, substantial loss in value and resale value of the vehicles, and other

related damage.

      136. Defendant’s attempt to disclaim or limit these express warranties vis-

à-vis consumers is unconscionable and unenforceable under the circumstances

here. Specifically, Defendant’s warranty limitations are unenforceable because it

knowingly sold a defective product without informing consumers about the




19
  https://dd5394a0b8ca8e97ba29-
abf76f3d91a2125517d6c7c409f095c7.ssl.cf1.rackcdn.com/content/common/manuals/2017/LIT-
11626-30-21%20REV%20-5-31-16_5951610c2a0ab7877c37bb12.pdf at p. 11-6 (last visited
July 24, 2019).


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manufacturing and/or material defect. Furthermore, Defendant continues to charge

Class members for relocating the radiators to the rear of the Class – if it addresses

the Radiator Defect at all -- when in fact such relocation is actually necessitated

because of Defendant’s defective product.

      137. The time limits contained in Defendant’s warranty periods were also

unconscionable and inadequate to protect Plaintiffs and members of the Class.

Among other things, Plaintiffs and Class members had no meaningful choice in

determining these time limitations, the terms of which unreasonably favored

Defendant. A gross disparity in bargaining power existed between Yamaha and

Class members, and Yamaha knew or should have known that the Class Vehicles

were defective at the time of sale and would fail well before their useful lives.

      138. Plaintiff and Class members have complied with all obligations under

the warranties, or otherwise have been excused from performance of said

obligations as a result of Defendant’s conduct described herein.

                                COUNT IV
                   BREACH OF IMPLIED WARRANTY
    (On Behalf of the Nationwide Class and Indiana, Minnesota, Ohio and
                             California Classes)

      139. Plaintiffs and the Class incorporate by reference each preceding and

succeeding paragraph as though fully set forth at length herein.

      140. A warranty that the Class Vehicles were in merchantable condition is

implied by law.

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      141. These Class Vehicles, when sold and at all times thereafter, were not

in merchantable condition and are not fit for the ordinary purpose for which all-

terrain side-by-side vehicles are used. Specifically, the Class Vehicles are

inherently defective in that their radiators are mounted on their front sides, making

them prone to becoming clogged with mud.

      142. Defendant was provided notice of these issues by numerous informal

and formal complaints filed against them, including the instant Complaint, and by

numerous individual letters and communications sent by Plaintiffs and other Class

members.

      143. As a direct and proximate result of Defendant’s breach of the

warranties of merchantability, Plaintiff and the other Class members have been

damaged in an amount to be proven at trial.

                                 COUNT V
                          UNJUST ENRICHMENT
    (On Behalf of the Nationwide Class and Indiana, Minnesota, Ohio and
                             California Classes)

      144. Plaintiffs and the Class incorporate the foregoing allegations. This

count is pled in the alternative to the contract-based claims.

      145. Plaintiffs and members of the Class conferred a benefit on Defendant.

      146. Defendant had knowledge that this benefit was conferred upon it.

      147. Defendant has been and continues to be unjustly enriched at the

expense of Plaintiffs, and its retention of this benefit under the circumstances

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would be inequitable.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, on behalf of themselves and members of the

Class, respectfully requests that this Court:

      A.     determine that the claims alleged herein may be maintained as a class

             action under Rule 23 of the Federal Rules of Civil Procedure, and

             issue an order certifying the Class as defined above;

      B.     appoint Plaintiffs as the representative of the Class and their counsel

             as Class counsel;

      C.     award any and all damages, as allowed by law, to which Plaintiffs and

             Class members are entitled;

      D.     award pre-judgment and post-judgment interest on such monetary

             relief;

      E.     grant appropriate injunctive and/or declaratory relief, including,

             without limitation, an order that requires Defendant to relocate

             radiators on the Class Vehicles to their rear sides, and/or to replace the

             Class Vehicles and to extend the applicable warranties to a reasonable

             period of time, or, at a minimum, to provide Plaintiffs and Class

             members with appropriate curative notice regarding the existence and

             cause of the Radiator Defect;



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     F.    award reasonable attorney’s fees and costs; and

     G.    grant such further relief that this Court deems appropriate.

                                JURY DEMAND

     Plaintiff demands a trial by jury.


Dated: January 27, 2021                            Respectfully submitted,

                                                   GUSTAFSON GLUEK PLLC

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